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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
STEVES AND SONS, INC.,
Plaintiff,
Vv. Civil Action No. 3:20cv98
JELD-WEN, INC.,
Defendant.
ORDER
Having considered JELD-WEN’S MOTION TO FILE UNDER SEAL (ECF
No. 116), and the supporting memorandum, and for good cause shown,

and the requirements of Local Civil Rule 5 and the decisions in

Ashcraft, et al. v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In

 

re Knight Publishing Co., 743 F.2d 231 (4th Cir. 1984) and Stone

 

v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988) having been

 

met, and the defendant asserting that the document requested to be
sealed is designated confidential under the STIPULATED PROTECTIVE
ORDER {ECF No. 25) entered herein, it is hereby ORDERED that JELD-
WEN’S MOTION TO FILE UNDER SEAL (ECF No. 116) is granted and JELD-
WEN’S MEMORANDUM REGARDING DISCOVERY DISPUTES (ECF No. 119) is
filed under seal; provided that appropriately redacted versions
thereof are filed in the public record.

It is so ORDERED.

js) __—*ef'

Robert E. Payne
Senior United States District Judge

 

Richmond, Virginia
Date: April +7 , 2020
